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UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-20350-D

KEVIN DOUGLAS MICKSCH
Defendant.

 

oRDER oN cHANGE oF PLEA
AND SETTING

 

This cause came to be heard on June 30, 2005, the United States
Attorney for this district, Dan Newsom, appearing for the Government and the
defendant, Kevin Douglas Micksch, appearing in person and with counsel,
J. Patten Brown, III, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count(s) l and 2 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for MDNDAY, SEPTEMBER 26, 2005, at
1:00 P.M., in Courtroom No. 3, on the 9“' floor before J‘udge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the {/Q day of July, 2005.

   

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with Ru|e 55 and/or 32(b) FF\CrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
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Honorable Bernice Donald
US DISTRICT COURT

